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13
                         IN THE UNITED STATES DISTRICT COURT
14
15                             FOR THE DISTRICT OF ARIZONA

16   Tyler Bowyer, Michael John Burke, Nancy
     Cottle, Jake Hoffman, Anthony Kern,             Case No.: 2:20-cv-02321-DJH
17   Christopher M. King, James R. Lamon, Sam
     Moorhead, Robert Montgomery, Loraine
18   Pellegrino, Greg Safsten, Salvatore Luke
     Scarmardo, Kelli Ward and Michael Ward;         PRELIMINARY INJUNCTION
19                    Plaintiffs;                    APPEAL
20   v.
     Doug Ducey, in his official capacity as         PLAINTIFFS’ NOTICE OF APPEAL
21                                                   TO THE UNITED STATES COURT
     Governor of the State of Arizona, and Katie
22   Hobbs, in her capacity as Secretary of State    OF APPEALS FOR THE NINTH
     of the State of Arizona;                        CIRCUIT AND REPRESENTATION
23                     Defendants;                   STATEMENT
24   Maricopa County Board of Supervisors;           [Election Related Matter]
     and Adrian Fontes, in his official capacity
25   as Maricopa County Recorder;
                     Defendant-Intervenors.
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       Case 2:20-cv-02321-DJH Document 85 Filed 12/10/20 Page 2 of 6



 1          Plaintiffs Tyler Bowyer, Michael John Burke, Nancy Cottle, Jake Hoffman,
 2   Anthony Kern, Christopher M. King, James R. Lamon, Sam Moorhead, Robert
 3   Montgomery, Loraine Pellegrino, Greg Safsten, Salvatore Luke Scarmardo, Kelli Ward
 4   and Michael Ward (collectively, “Plaintiffs”) hereby appeal to the United States Court of
 5   Appeals for the Ninth Circuit from the Order denying Plaintiffs’ motion for preliminary
 6   injunction and dismissing Plaintiffs’ Complaint that the United States District Court for the
 7   District of Arizona entered on December 9, 2020. The case was first filed in the United
 8   States District Court for the District of Arizona on December 2, 2020. Counsel Alexander
 9   Kolodin is registered for electronic filing in the 9th Circuit. The filing fee and the appellate
10   docket fee are submitted herewith.
11          In accordance with FRAP 12(b) and Ninth Circuit Rule 3-2(b), Plaintiffs also file
12   the following representation statement. The parties to the judgment appealed from and the
13   names, addresses, and telephone numbers of their respective attorneys are as follows:
14

15   Plaintiffs
16          All plaintiffs are represented by the following attorneys:
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25   *Application for admission pro hac vice not yet submitted

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       Case 2:20-cv-02321-DJH Document 85 Filed 12/10/20 Page 3 of 6



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                                    Respectfully submitted this 10th day of December, 2020
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22   /s/Sidney Powell
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